Court of Appeals
of the State of Georgia

                                         ATLANTA,____________________
                                                  August 23, 2024

The Court of Appeals hereby passes the following order:

A25A0119. THOMAS DEAN v. THE STATE OF GEORGIA et al.

      In June 2022, Thomas Dean filed an action in the superior court, seeking to
challenge the qualifications of candidates for Georgia Labor Commissioner. The
defendants filed motions to dismiss, which the trial court granted. Dean then appealed
to this Court.
      The Supreme Court of Georgia “has exclusive appellate jurisdiction over ‘[a]ll
cases of election contest.’” Cook v. Bd. of Registrars, 291 Ga. 67, 68 (2) (a) (1) (727
SE2d 478) (2012) (quoting Ga. Const. of 1983, Art. VI, Sec. VI, Par. II (2)). Because
the underlying subject matter of this action is an “election contest,” it appears that
jurisdiction over this appeal may lie in the Supreme Court. See Cook, 291 Ga. at 71 (2)
(a) (3) (observing that various pre-election “candidacy challenges . . . qualify as ‘cases
of election contest’ within [the Supreme] Court’s jurisdiction”). Further, the
Supreme Court has the ultimate responsibility for determining appellate jurisdiction.
See Saxton v. Coastal Dialysis &amp; Med. Clinic, 267 Ga. 177, 178 (476 SE2d 587) (1996).
      Accordingly, this appeal is hereby TRANSFERRED to the Supreme Court for
disposition.



                                   Court of Appeals of the State of Georgia
                                     Clerk’s Office, Atlanta,____________________
                                                                 08/23/2024
                                              I certify that the above is a true extract from
                                   the minutes of the Court of Appeals of Georgia.
                                             Witness my signature and the seal of said court
                                   hereto affixed the day and year last above written.


                                                                                     , Clerk.
